This is a guest passenger case. The alleged gross negligence or wilful and wanton misconduct of defendant consisted in driving, in the afternoon of a summer day, at 40 miles per hour in a driving rain and high wind and poor visibility and, while trying to pass a truck upon a three-lane highway, contact with an oncoming automobile *Page 443 
caused defendant's car to swing around on the wet pavement into the path of another car and in the collision plaintiff was seriously injured. The court directed a verdict for defendant and this appeal is by plaintiff. This did not constitute gross negligence or wilful and wanton misconduct.
Affirmed.
See Findlay v. Davis, 263 Mich. 179; Grabowski v. Seyler,261 Mich. 473; Keilitz v. Elley, 276 Mich. 701;Rowe v. Vander Kolk, 278 Mich. 564; Raby v. Dodge, 279 Mich. 626;  In re Mueller's Estate, 280 Mich. 203.
Defendant will recover costs.
BUSHNELL, C.J., and SHARPE, CHANDLER, NORTH, McALLISTER, and BUTZEL, JJ., concurred. The late Justice POTTER took no part in this decision.